













Opinion issued March 27, 2008








In The
Court of Appeals
For The
First District of Texas
____________

NO. 01-07-00918-CV
____________

GEORGE N. VAILAS, Appellant

V.

ANASTASIA VAILAS, Appellee




On Appeal from the 300th District Court
Brazoria County, Texas
Trial Court Cause No. 36463




MEMORANDUM OPINION
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Appellant has filed an unopposed motion to dismiss his appeal.  No opinion has
issued.  Accordingly, the motion is granted, and the appeal is dismissed.  Tex. R.
App. P. 42.1(a)(1).
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;All other pending motions in this appeal are overruled as moot.  The Clerk is
directed to issue mandate within 10 days of the date of this opinion.  Tex. R. App. P.
18.1.
PER CURIAM
Panel consists of Chief Justice Radack and Justices Jennings and Bland.


